    Case 10-34176-sgj11     Doc 361 Filed 10/05/10 Entered 10/05/10 23:39:44         Desc
                              Main Document     Page 1 of 7


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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

   In re:                                 §            Case No. 10-34176
                                          §
   Lincolnshire Campus, LLC, et al.       §            Chapter 11
                                          §
                       Debtors.           §            (Jointly Administered)
                                          §

          MOTION OF COMMERCIAL CARPET CONSULTANTS, INC., CAIN
           MILLWORK, INC., SUPERIOR TRUSS & PANEL, INC., SHERMAN
    MECHANICAL, INC., BECKER ELECTRICAL GROUP, JUST RITE ACOUSTICS,
    INC., VALLEY FIRE PROTECTION SYSTEMS, LLC, G.W. THIEL, INC., SERVICE
         DRYWALL AND DECORATING, AND BANK OF AMERICA, N.A. AS
   SUCCESSOR INTEREST TO WELCH DRYWALL CO. FOR RECONSIDERATION
   AND TO AMEND ORDER AUTHORIZING AND APPROVING (I) THE SALE OF
       SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS TO SENIOR CARE
   DEVELOPMENT, LLC; (II) THE PROCEDURES GOVERNING THE ASSUMPTION
          AND ASSIGNMENT OF CONTRACTS; AND (III) RELATED RELIEF


   TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

            COME NOW, Commercial Carpet Consultants, Inc., Cain Millwork, Inc.,

   Superior Truss & Panel, Inc., Sherman Mechanical, Inc., Becker Electrical Group, Just

   Rite Acoustics, Inc., Valley Fire Protection Systems, LLC, G.W. Thiel, Inc., Service

   Drywall and Decorating, and Bank of America, N.A., successor in interest to Welch

   Drywall Co. (collectively referred to as “M&M Lien Claimants”), creditors and parties

   in interest herein, and file this Motion for Reconsideration and to Amend Order

   Authorizing and Approving (I) the Sale of Substantially All of the Debtors’ Assets to

   MOTION FOR RECONSIDERATION                                               PAGE 1
 Case 10-34176-sgj11        Doc 361 Filed 10/05/10 Entered 10/05/10 23:39:44       Desc
                              Main Document     Page 2 of 7


Senior Care Development, LLC; (II) the Procedures Governing the Assumption and

Assignment of Contracts; and (III) Related Relief [Doc. No. 316—the “Sale Order”], as

follows:

                                          I.
                                     BACKGROUND

1.     The undersigned counsel represent ten subcontractors (the “M&M Lien

Claimants”) who furnished work, services, labor and/or materials on a construction

project known as Sedgebrook Renaissance Gardens located in Lincolnshire, Illinois (the

“Lincolnshire Property”), and who perfected mechanic’s and materialman’s liens on

Lincolnshire Property because of non-payment. The list of M&M Lien Claimants and

their principal lien amounts are amended as follows:


Commercial Carpet Consultants, Inc.            $242,819.23

Cain Millwork, Inc.                            $184,558.99

Superior Truss & Panel, Inc.                   $48,528.00

Sherman Mechanical, Inc.                       $268,512.50

Becker Electrical Group                        $591,305.97

Just Rite Acoustics, Inc.                      $53,400.00

Valley Fire Protection Systems, LLC            $25,954.50

G.W. Thiel, Inc.                               $166,334.40

Service Drywall and Decorating, Inc.           $168,133.32

Bank of America, N.A., successor in interest
to Welch Drywall Co.                           $323,739.24

                                   Total:      $2,073,286.15

The owner of the Lincolnshire Property is Lincolnshire Campus, LLC (“Lincolnshire”),

who is one of the debtors in this bankruptcy proceeding.


MOTION FOR RECONSIDERATION                                                PAGE 2
 Case 10-34176-sgj11      Doc 361 Filed 10/05/10 Entered 10/05/10 23:39:44             Desc
                            Main Document     Page 3 of 7


2.     Even if another lien, such as a mortgage or deed of trust, was first filed, under

Illinois law the M&M Lien Claimants are still senior lien holders to the extent that their

work enhanced the value of the land being improved, See 770 ILCS 60/16; see also Lyons

Savings v. Gash Assoc., 665 N.E.2d 326 (Ill. App. Ct. 1996); Lawn Manor Savings & Loan

Ass’n v. Hukvari, 397 N.E.2d 247 (Ill. App. Ct. 1979).

3.     The Lincolnshire Property was the subject of the Debtors’ Motion of Lincolnshire

Campus, LLC and Naperville Campus, LLC for Orders (I) Approving Bid Procedures

and Providing Certain Protections to Senior Care Development, LLC; and (II)

Authorizing the (A) Sale of Substantially All of the Debtors’ Assets Free and Clear of All

Liens, Claims, Interests and Encumbrances and (B) The Assumption and Assignment of

Certain Executory Contracts and Leases [Doc. No. 35—“Motion to Sell”].

4.     M&M Lien Claimants filed an objection to the sale on July 15, 2010 [Doc. no.

158], filed a supplemental objection on September 17, 2010 [Doc. no. 280], and attended

both the hearing on the bid procedures and the September 21 sale hearing.

5.     The Motion to Sell was granted after a hearing on September 21, 2010. A

proposed order on the Motion to Sell was uploaded by Debtors’ counsel on September

23, 2010. The M&M Lien Claimants submitted their objections to the proposed order by

email to opposing counsel and to the Court’s deputy that same day. Nevertheless, the

Sale Order [Doc. No. 316] was entered by the Court on September 24, 2010.

                                        II.
                             ARGUMENT AND AUTHORITIES

6.     M&M Lien Claimants ask the Court to reconsider and the amend the Sale Order

under Bankruptcy Rules 9023 and 9024 and Rules 59 and 60 of the Federal Rules of Civil

Procedure.




MOTION FOR RECONSIDERATION                                                    PAGE 3
 Case 10-34176-sgj11      Doc 361 Filed 10/05/10 Entered 10/05/10 23:39:44               Desc
                            Main Document     Page 4 of 7


A.     No notice was given that sale proceeds would be disbursed prior to
       determination of the extent, validity, and priority of liens

7.     The Sale Order provides that $3.5M be escrowed for the benefit of lien claimants

on the Lincolnshire Property, and that the remainder, after payment of certain fees and

costs, may be disbursed to the Indenture Trustees. However, M&M Lien Claimants

assert that the issue of disbursement was not ripe for the September 21 hearing, that no

notice whatsoever of same had been given, and that all the sale proceeds should be

escrowed pending a determination of the relative lien priorities of M&M Lien Claimants

and the indenture trustee on the Lincolnshire Property (the “Lincolnshire Trustee”). In

the alternative, the sale proceeds should be escrowed until a proper request for

disbursement is on file and a properly noticed hearing can be had.

8.     Neither the Motion to Sell nor any other motion on file in this case requested that

sales proceeds be disbursed or provided any notice whatsoever that proceeds would be

disbursed. On the contrary, the Motion to Sell informed lien holders that “any

lienholder also will be adequately protected by having its liens, if any, attach to the sale

proceeds . . . .” (See Motion to Sell-Doc. No. 35-, p 31). Neither the Supplemental

Motion to Sell nor the Second Supplemental Motion to Sell said any different. Further,

the only draft of the sale order on file before the hearing (which was filed as Exhibit “C”

to the Motion to Sell) provided that all encumbrances would attach to proceeds (see

paras. 8 & 9 on p 9), and made no mention of proceeds being disbursed.

9.     Thus, neither M&M Lien Claimants nor any other mechanic’s lien creditors

(there are at least ten who did not attend the hearing through counsel, and who had no

reason to know they needed to) were given notice that the sale proceeds would be

disbursed. As such, due process requires that the determination of the issues of

disbursement and the escrow amount for lien creditors await a determination of the


MOTION FOR RECONSIDERATION                                                      PAGE 4
 Case 10-34176-sgj11     Doc 361 Filed 10/05/10 Entered 10/05/10 23:39:44             Desc
                           Main Document     Page 5 of 7


relative lien priorities of M&M Lien Claimants and the Lincolnshire Trustee, or at the

very least until a proper request for disbursement is on file and a properly noticed

hearing can be had. This issue is of critical importance because, though an escrow of

$3.5M was set aside for lien creditors on Lincolnshire, that amount may not be enough

to cover their senior lien claims and it is unclear whether M&M Lien Claimants have a

right to seek disgorgement from the Lincolnshire Trustee.

B.    Lien claimants are entitled to disgorgement from the Lincolnshire Trustee if
      senior mechanic’s lien claims exceed the $3.5M escrow.

10.   Even if the Sale Order stands as is with respect to the disbursement of funds and

escrow amounts, at the very least it should provide that:

      Notwithstanding the foregoing, in the event the escrowed amount is
      insufficient to pay all Mechanic's Lien Holders who establish that their
      liens are superior or equal in right to those of the Indenture Trustee, the
      Indenture Trustee may be required to disgorge and pay the Mechanic's
      Lien Holders up to the amount of any such insufficiency. This court
      retains jurisdiction in this proceeding and any related adversary
      proceeding to determine such claims.

As set forth above in paragraph 2, M&M Lien Claimants will be preferred and senior to

the Lincolnshire Trustee to the extent that M&M Lien Claimants’ work on the

Lincolnshire Property enhanced the value of the land. M&M Lien Claimants believe

that under the doctrine of enhancement there is a high probability that their entire lien

claims will be determined to be senior to the Lincolnshire Trustee.

11.   In addition, though an abstractors report shows that lien claims total

$3,505,692.92 (and counsel for Lincolnshire Trustee admitted that there were $3.5M in

mechanic’s liens at the September 21 hearing), the report is far from a guarantee that

there are only $3.5M in liens. And even if the $3.5M is accurate, lien claimants will be

entitled to attorneys fees (See 770 ILCS 60/17) and interest at 10% per annum (See 770




MOTION FOR RECONSIDERATION                                                   PAGE 5
 Case 10-34176-sgj11       Doc 361 Filed 10/05/10 Entered 10/05/10 23:39:44            Desc
                             Main Document     Page 6 of 7


ILCS 60/1). As such, senior mechanic’s lien claims could easily exceed the $3.5M

escrow.

12.    Thus, it was premature and improper at the sale hearing to limit mechanic’s lien

holders to $3.5M with no right to seek disgorgement. Rather, the rights of the parties

should be preserved until the true extent, validity, and priority of lien is determined in

the adversary. In addition, it is one thing for the escrow amount to be limited to $3.5M.

However, it is quite another to say that should the mechanic’s lien claimants establish

that they have senior liens in an amount greater than $3.5M, the Lincolnshire Trustee

can refuse to give back money it is not entitled to. There is no reason, justification, or

legal basis for such a result.

13.    The court’s ruling on this issue was unclear to the undersigned counsel. If it was

in fact the Court’s ruling that M&M Lien Claimants would not have a right of

disgorgement, then in essence the ruling has determined the extent of mechanic’s lien

claims prematurely, without notice, and outside of an adversary proceeding. Therefore,

M&M Lien Claimants ask that the Sale Order include the disgorgement language above.

It is the only fair and just result. The Lincolnshire Trustee should not be able to retain

money that rightfully belongs mechanic’s lien claimants, which, in essence, amounts to

a license to steal.

       WHEREFORE, PREMISES CONSIDERED, M&M Lien Claimants respectfully

pray that the Sale Order be modified as requested above, and for such other and further

relief, at law and in equity, to which M&M Lien Claimants may show themselves to be

justly entitled.




MOTION FOR RECONSIDERATION                                                    PAGE 6
 Case 10-34176-sgj11      Doc 361 Filed 10/05/10 Entered 10/05/10 23:39:44               Desc
                            Main Document     Page 7 of 7




Dated: October 5, 2010

                                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of this document was served on the 5th day

of October, 2010 on all parties registered to received electronic notice in this case via the

Court’s ECF system, and on the following via the ECF system and/or email:

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                                                  /s/ Jason R. Kennedy
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MOTION FOR RECONSIDERATION                                                      PAGE 7
